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                  MILITARY TIME CHART



Midnight (12:00 AM) -- 0000 hrs
1:00 AM -- 0100 hrs
2:00 AM -- 0200 hrs
3:00 AM -'           0300 hrs
4:00 AM -- 0400 hrs
5:00 AM -- 0500 hrs
6:00 AM -- 0600 hrs
7:00 AM -- 0700 hrs
8:00 AM -- 0800 hrs
9:00 AM -- 0900 hrs
10:00 AM -- 1000 hrs
1L:00 AM -- 1100 hrs
12:00 PM --           1200 hrs
1:00 PM --            1300 hrs
2:00 PM --            1400 hrs
3:00 PM --            L500 hrs
4:00 PM --            L600 hrs
5:00 PM --            1700 hrs
6:00 PM --            1800 hrs
7:00 PM --            1900 hrs
8:00 PM --            2000 hrs
9:00 PM --            2100 hrs
10:00 PM --           2200 hrs
1L:00 PM --           2300 hrs



                                                                           EXHIBIT

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